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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                4:04CR000169-17-BRW

LEODIS COCHRAN

                                         ORDER

       Mr. Cochran’s unopposed Motion for Early Termination of Supervised Release (Doc.

No. 847) is GRANTED, and his supervised release is hereby terminated.

       IT IS SO ORDERED this 17th day of May, 2011.



                                                        /s/Billy Roy Wilson
                                                 UNITED STATES DISTRICT JUDGE
